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                                                                                         DOCKET NUMBER     (TRAN. COURT)
 PROB 22 (ED/CA)
 (Rev. 2/88)                                                                             0972 2:11CR00454-003
                      TRANSFER OF JURISDICTION                                           DOCKET NUMBER     (REC. COURT)


 NAME AND ADDRESS OF ☐ PROBATIONER ☐ SUPERVISED RELEASEE   DISTRICT                      DIVISION
                                                           E-CA                          Sacramento
 Jonathan Sherman                                          NAME OF SENTENCING JUDGE

 Bronx, New York                                           Garland E. Burrell Jr
                                                           DATES OF                      FROM                TO

                                                           ☐ PROBATION
                                                           ☒ SUPERVISED RELEASE          12/8/2014           12/7/2017
 OFFENSE

 18 USC 1956(a)(1)(B)(ii) – Laundering of Monetary Instruments


 PART 1 – ORDER TRANSFERRING JURISDICTION

                   UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF CALIFORNIA

           IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3605 the jurisdiction of the supervisee named above
 be transferred with the records of the Court to the United States District Court for the Southern District of New
 York upon that Court's order of acceptance of jurisdiction. This Court hereby expressly consents that the
 period of Supervised Release may be changed by the District Court to which this transfer is made without
 further inquiry of this Court.*
 Dated: June 29, 2015




        RESTITUTION: If this offender has an order of restitution which is to be paid jointly and severally, the
 offender shall send payments to the sentencing district Court Clerk's Office and no financial record shall be
 created in the receiving district.

 *This sentence may be deleted at the discretion of the transferring Court.


 PART 2 – ORDER ACCEPTING JURISDICTION

                   UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK

        IT IS HEREBY ORDERED that jurisdiction over the above-named supervisee be accepted and assumed by
 this Court from and after the entry of this Order.

                         Effective Date                                  United States District Judge



CC:      United States Attorney
         FLU Unit - United States Attorney's Office

                                                                                                                      Rev. 05/2013
                                                                                                 TRANSFER OF JURIS (PROB22).DOTX
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Fiscal Clerk - Clerk's Office




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                                                                 TRANSFER OF JURIS (PROB22).DOTX
